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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MLB PLAYERS, INC.,                                             CIVIL ACTION

                         Plaintiff,
                                                                No. 24-4884-KSM
            v.

 DRAFTKINGS, INC., f/k/a DK Crown Holdings
 Inc.,

                         Defendant.


                                      MEMORANDUM
Marston, J.                                                                             May 21, 2025

        Plaintiff MLB Players, Inc. (“MLPBI”) brings statutory and common law claims against

Defendant DraftKings, Inc. for misappropriation of publicity and unjust enrichment related to the

unauthorized use of the names, images, and likenesses (“NILs”) of major league baseball players

in its online and mobile sportsbook platforms and related social media posts. (See generally

Doc. No. 1.) On March 14, 2025, the Court, with one exception not relevant here, denied

DraftKings’s motion to dismiss. (See Doc. Nos. 54–55 (collectively, the “March 14, 2025

Memorandum”).) 1 DraftKings now moves to certify portions of the Court’s ruling for

interlocutory appeal under 28 U.S.C. § 1292(b). (Doc. Nos. 60, 62.) MLBPI opposes the

motion. (Doc. No. 61.) The Court held oral argument on April 30, 2025. For the reasons

discussed below, the motion is denied.




        1
          The Court assumes familiarity with the March 14, 2025 Memorandum, see MLB Players, Inc. v.
DraftKings, Inc., __ F. Supp. 3d __, 2025 WL 834201 (E.D. Pa. Mar. 17, 2025), and does not reiterate the
facts or summarize the legal conclusions here.
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I.     LEGAL STANDARD

       “Generally, an order denying a dispositive motion,” like the March 14, 2025

Memorandum, “is not immediately appealable because it is not a final judgment.” Fair Housing

Rights Ctr. in Se. Pa. v. Morgan Props. Mgmt. Co., Civil Action No. 16-4677, 2018 WL

4489653, at *2 (E.D. Pa. Sept. 19, 2018); see also In re Chocolate Confectionary Antitrust Litig.,

607 F. Supp. 2d 701, 704 (M.D. Pa. 2009) (“Denials of motions to dismiss are not final orders,

and a losing party may not ordinarily pursue an immediate appeal from them.”). Under 28

U.S.C. § 1292(b), however, a district court may certify an interlocutory order for immediate

appeal when it involves a controlling and uncertain legal issue:

               When a district judge, in making in a civil action an order not
               otherwise appealable under this section, shall be of the opinion that
               such order involves a controlling question of law as to which there
               is substantial ground for difference of opinion and that an immediate
               appeal from the order may materially advance the ultimate
               termination of the litigation, he shall so state in writing in such order.
               The Court of Appeals which would have jurisdiction of an appeal of
               such action may thereupon, in its discretion, permit an appeal to be
               taken from such order, if application is made to it within ten days
               after the entry of the order: Provided, however, that application for
               an appeal hereunder shall not stay proceedings in the district court
               unless the district judge or the Court of Appeals or a judge thereof
               shall so order.

28 U.S.C. § 1292(b). Section 1292(b) recognizes that in certain exceptional cases, “interlocutory

appellate review” may “avoid injustice by quickly correcting a trial court’s error,” and “[i]t can

simplify, or more appropriately direct, the future course of litigation,” thereby reducing “the

burdens of future proceedings.” Johnson v. Jones, 515 U.S. 2151, 2154–55 (1995); Katz v. Carte

Blanche Corp., 496 F.2d 747, 754 (3d Cir. 1974) (explaining that the drafters of § 1292(b) gave

examples of the types of cases which might be subject to immediate appeal, including “cases in

which a long trial results from a pretrial order erroneously overruling a defense going to the right

to maintain the action, . . . cases involving prolonged assessment of damages after determination


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of liability, . . . cases where the disposition of motions for impleader might induce voluntary

nonsuit or settlement, and . . . cases where venue is claimed to have been transferred without

proper authority”).

       An issue is properly certified for interlocutory appeal under § 1292(b) when it:

“(1) involve[s] a controlling question of law, (2) offer[s] substantial ground for difference of

opinion as to its correctness, and (3) if immediately appealed [will] materially advance the

ultimate termination of the litigation.” Consumer Fin. Prot. Bureau v. Navient Corp., 522 F.

Supp. 3d 107, 113 (M.D. Pa. 2021). Under the first element, “[a]n order involves a controlling

question of law if either (1) an incorrect disposition would constitute reversible error if presented

on final appeal or (2) the question is ‘serious to the conduct of the litigation either practically or

legally.’” In re Chocolate Confectionary Antitrust Litig., 607 F. Supp. at 705 (quoting Katz, 496

F.2d at 755). Under the second, a “substantial ground for difference of opinion must arise out of

doubt as to the correct legal standard, such as conflicting precedent, the absence of controlling

law, or complex statutory interpretation.” Consumer Fin. Prot. Bureau, 522 F. Supp. 3d at 113.

Third, an interlocutory appeal materially advances the litigation where it eliminates “the need for

trial,” resolves “complex issues that complicate the trial,” or removes “issues that would make

discovery more costly or burdensome.” Id. at 114. In addition to these three elements, some

courts also consider “whether the issues in the action are of ‘nationwide significance.’” Id.

       “Even if all of the elements are satisfied, the decision to certify an interlocutory order for

appeal under section 1292(b) ‘rests within the sound discretion of the trial court.’” Hall v.

Wyeth, Inc., Civil Action No. 10-738, 2010 WL 4925258, at *1 (E.D. Pa. Dec. 2, 2010) (citation

omitted); accord Bradburn Parent Teacher Store, Inc. v. 3M, No. Civ.A.02-7676, 2005 WL

1819969, at *2 (E.D. Pa. Aug. 2, 2005); see also In re Chocolate Confectionary Antitrust Litig.,




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 607 F. Supp. 2d at 704 (“[T]he court may decline to certify an order even if the parties have

 satisfied all elements enumerated in the statute.”). And in exercising its discretion, “a district

 court should be mindful of the strong policy against piecemeal appeals.” Bradburn Parent

 Teacher Store, Inc., 2005 WL 1819969, at *2; Sayles v. Allstate Ins. Co., Civil Action 3:16-CV-

 01534, 2017 WL 2985402, at *1 (M.D. Pa. July 13, 2017); see also Milbert v. Bison Labs., Inc.,

 260 F.2d 431, 433 (3d Cir. 1958) (recognizing that Congress expected such requests to be

 granted “sparingly”).

II.     DISCUSSION

        DraftKings moves to certify four questions for appeal:

                1.       Does DraftKings’ use of MLB player images as alleged in
                         the Complaint fall within the scope of the exception under
                         42 Pa. Cons. Stat. § 8316(e)(2)(ii) for “news report or news
                         presentation having public interest” and the coextensive
                         Pennsylvania common law exception? (“Issue 1”)

                2.       As a matter of law, must a cause of action for unjust
                         enrichment in a right of publicity case be dismissed where
                         there is not a relationship between the parties? (“Issue 2”)

                3.       Can a plaintiff purporting to represent a group of individuals
                         circumvent the rules for class actions by bringing a claim
                         under 42 Pa. Cons. Stat. § 8316(a) and Pennsylvania
                         common law, when both provide only that an individual can
                         bring a claim for the unauthorized use of her or his name or
                         likeness? (“Issue 3”)

                4.       Can a sublicensee, rather than the individual allegedly
                         affected, bring a claim for unauthorized use of name or
                         likeness under 42 Pa. Cons. Stat. § 8316(b)(4) and
                         Pennsylvania common law? (“Issue 4”)

 (Doc. No. 60-1 at 7.) The Court begins with Issues 3 and 4, which raise issues not previously

 decided, before addressing whether Issues 1 and 2 are appropriate for immediate appeal.




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               1.      Issue 3 and 4

       Certification is not appropriate as to Issues 3 and 4 because neither issue was adequately

raised in DraftKings’s briefing on the motion to dismiss or resolved by the March 14, 2025

Memorandum.

       Beginning with Issue 3, DraftKings concedes that the March 14, 2025 Memorandum “did

not squarely address the propriety of MLBPI’s suing under a group licensing theory,” nor did it

address the “fact that the Statute and common law do not recognize suits based on group rights.”

(Doc. No. 60-1 at 15; see also H’rg. Tr. at 52:6–53:20 (“But what we did not address specifically

and what needs to be addressed, or we can infer that you addressed it, is this question of whether

the claim can be based on group licensing.”).) It argues that the Court failed to rule on these

issues even though DraftKings raised them in its reply brief. (Doc. No. 60-1 at 15 (referencing

pages 8–9 of its reply brief).) If, as DraftKings suggests, the Court failed to address an issue

raised in DraftKings’s briefing, reconsideration, not interlocutory appeal, would be the

appropriate course. See Katz, 469 at 763 (“We cannot exercise appellate jurisdiction over an

issue not yet decided in the district court.”). But here, DraftKings did not adequately raise the

propriety of group licensing as an issue in its briefing on the motion to dismiss.

       In its initial briefing, DraftKings made two related, though distinct, arguments:

(1) DraftKings argued that MLBPI failed to identify the “natural persons” on whose behalf it was

bringing its statutory and common law claims (Doc. No. 36-1 at 27–28), and (2) it argued that

MLBPI failed to allege that it was authorized to bring its statutory claim because the Complaint

“merely alleges that each active player has licensed to [MLB Player’s Association (“MLBPA”)]

(not a plaintiff in this case) the right to license and sublicense the players’ NIL,” without any

“allegation that any natural person has licensed that right to MLBPI” (id. at 30–31). DraftKings

reiterated these arguments in its reply brief, while also asserting for the first time that MLBPI’s


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claims fail because “MLBPI does not cite a single case to support any ‘collective’ or ‘group’

right of publicity under either common law or the Statute.” (Doc. No. 45 at 12–13.) But

DraftKings did not elaborate on this issue or otherwise provide legal support for this separate

assertion, which was, again, made in the context of DraftKings’s broader argument that MLBPI

was required to plead “the identity of the ‘natural person[s]’ whose rights it seeks to vindicate”

and to show that MLBPI was authorized to assert those rights. (Id.)

       In its current briefing, DraftKings tries to rewrite history and say it has consistently

argued that “neither the Statute nor common law permit right of publicity suits based on a group

licensing right.” (Doc. No. 60-1 at 16.) But even now, its argument is hard to pin down.

Although framed at times as an issue related to the scope of permissible statutory and common

law claims, other times DraftKings argues that MLBPI is trying to “circumvent the rules for class

actions” (id.), an issue it cannot seriously contend that it raised before now (see Hr’g Tr. at 7:3–

10 (defense counsel conceding that she is “not sure if we mentioned the rules for class action” in

the briefing on the motion to dismiss)). Because DraftKings did not adequately raise the issue

below, and the Court did not rule on it in the March 14, 2025 Memorandum, immediate appeal is

not appropriate. See, e.g., Rodriguez v. Procter & Gamble Co., 499 F. Supp. 3d 1202, 1209

(S.D. Fla. Nov. 6, 2020) (“[B]ecause courts have consistently rejected attempts to raise new

arguments in a motion for interlocutory appeal, P&G’s new arguments will not be considered at

this juncture.”); In re Bank of Am. Corp. Secs., Derivative, & Emp’ee Retirement Income Sec.

Act (ERISA) Litig. (“In re Bank of Am.”), Master File No. 09 MD 2058(PKC), 2010 WL

4237304, at *3 (S.D.N.Y. Oct. 8, 2010) (“Section 1292(b) is not a vehicle for raising new

arguments on appeal.”); see also, e.g., Katz, 469 F.2d at 763 (finding no appellate jurisdiction

over an issue not addressed by the district court); cf. Fed. Trade Comm. v. Surescripts, LLC,




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Civil Action No. 19-1080 (JDB), 2020 WL 2571627, at *5 (D.D.C. May 21, 2020) (“Inserting

new, let alone previously disavowed, arguments into a § 1292(b) motion is a dubious practice at

best, because it undermines the settled principle that courts of appeals should not consider

arguments that parties failed to make below, as numerous courts have recognized.” (cleaned up)

(collecting cases)).

       Issue 4, like Issue 3, was also not adequately raised in DraftKings’s briefing on the

motion to dismiss. DraftKings argues in its current briefing that “a corporation (like MLBPI)

that purportedly has been assigned a right from non-natural person ([the Players’ Association])”

is foreclosed from bringing suit because, as relevant here, § 8316 extends standing only to a

“natural person[ ]” and a “corporation authorized in writing by such natural person to license the

commercial or advertising purposes of the person’s name or likeness.” (Doc. No. 60-1 at 18–19

(quoting 42 Pa. Cons. Stat. § 8316(b)(1)–(4)) (alterations adopted).) In other words, DraftKings

argues that the statute and common law foreclose claims by sublicensees as a matter of law.

       During oral argument on the current motion, DraftKings asserted that it previously raised

this argument in its initial briefing on the motion to dismiss. (Hr’g Tr. at 6:1–11 (“This was

argued in our opening motion to dismiss at page 7 and 24 to 25 . . . [a]nd then we again discussed

it page 10 of our reply.”).) But a review of that brief shows that DraftKings initially argued only

that MLBPI failed to allege facts to show that MLBPI, as opposed to the Players’ Association,

had authority to assert the players’ NIL claims. (See Doc. No. 36-1 at 13–14 (“The Complaint

alleges that MLBPI is a corporate subsidiary of MLBPA, and draws the conclusion, unsupported

by factual allegations, that the players’ assignment to MLBPA, ‘in turn,’ confers rights on

MLBPI.” (emphasis added)); id. at 30 (“The Complaint Fails to Adequately Allege That MLBPI




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Is Authorized to Bring a Claim (Count I).” (emphasis added)) 2; id. at 30–31 (“It is thus not clear

from the face of the Complaint . . . that MLBPI is authorized under the Statute to bring a claim.”

(emphasis added))) 3; see also In re Bank of Am., 2010 WL 4237304, at *3 (denying certification

where the defendant’s underlying briefing “focused on the pleading of a state-of-mind

requirement” under “the ‘33 Act,” but their motion for certification raised a “new argument”

about “which representations plausibly constitute a statement of fact under the ‘33 Act”

(citations omitted)).

       In its reply brief on the motion to dismiss, DraftKings built on this argument, asserting

that MLBPI conceded “no natural person has authorized it in writing to license his name or

likeness. Rather, MLB players have given a license to MLBPA, and MLBPA—not a natural

person—purportedly has assigned the players’ rights to MLBPI.” (Doc. No. 45 at 14.) 4 This

argument appears more closely in line with the textual arguments DraftKings makes in its current

briefing. (Compare id. (arguing that this type of assignment “is not sufficient to authorize

MLBPI to bring a claim under the Statute’s unambiguous language”), with Doc. No. 60-1 at 18

(arguing that the text of § 8316 does not support the “chain of assignment” involved in this case),

and Hr’g Tr. at 5:16–17 (“[T]he issue here is the assignment down the chain and the

sublicensing.”).) But notably, DraftKings did not state in this portion of its reply brief—which

consisted of three sentences—that it was raising a new, purely legal question, nor did it cite any

case law in support of its new position. (See Doc. No. 45 at 14; Hr’g Tr. at 11:18–21 (conceding



       2
          As this quote shows, MLBPI’s argument at the motion to dismiss stage was limited to MLBPI’s
statutory claim (Count I) and was not made in connection with the common law claim (Count II);
however, now it seeks certification of this issue as to both counts.
       3
         The Court has adopted the pagination provided by the CM/ECF system. Here, pages 13–14 and
30–31 of Doc. No. 36-1 as assigned by CM/ECF correlate with opening brief pages 7–8 and 24–25.
       4
           Page 14 of Doc. No. 45 as assigned by CM/ECF correlates with reply brief page 10.


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that DraftKings “did not cite any cases specifically saying that there are—that group licensing is

not allowed” but claiming this failure was because the issue “has not been addressed”).) This

lack of support is particularly telling given that DraftKings’s proposed interpretation would

require the Court to find that the Pennsylvania legislature intended to foreclose all sublicensing

of NIL rights when it passed § 8316. The Court reasonably did not view DraftKings to be

raising that drastic position in a single paragraph of a reply brief that lacked legal support and a

thorough discussion of the issue. 5 Instead, the Court interpreted this portion of the reply brief as

a continuation of DraftKings’s initial argument that MLBPI failed to allege sufficient facts to

show it was authorized to bring a claim.

        Based on that interpretation, the Court found MLBPI’s allegations sufficient to suggest

the players’ NIL rights had been properly assigned to it through a sublicensing agreement with

the Players’ Association. Although this finding necessarily assumed that the statute and common


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           At oral argument on the motion for certification, DraftKings’s counsel argued that it “makes
good sense from a policy perspective” to find § 8316 forecloses sublicensing of NIL rights as a matter of
law, because “[w]hen a natural person assigns the rights to a corporation, they are still in control of it,
they know who is in control of the rights. And so it makes sense that public policy would not support that
then corporations can go and do whatever they want and give those rights to whoever they want.” (Hr’g.
Tr. at 14:15–23; see also id. at 54:3–10.) But DraftKings’s suggested reading of § 8316 would restrict
freedom of contract, a result at odds with the accepted proposition that “freedom of contract is the general
rule and restraint the exception.” Advance-Rumely Thresher Co v. Jackson, 287 U.S. 283, 288 (1932); see
also, e.g., SodexoMAGIC, LLC v. Drexel Univ., 24 F.4th 183, 219 (3d Cir. 2022) (“Pennsylvania affords
parties broad latitude in fashioning their agreements.”); Karkaria v. Karkaria, 592 A.2d 64, 70 (Pa.
Super. Ct. 1991) (recognizing the “deferential attitude on the part of the legislature towards the parties’
ordering of their affairs by agreement and a reluctance to interfere with the parties’ freedom of contract”).
DraftKings’s interpretation seems to ignore that, consistent with the freedom of contract, an individual
wishing to “know who is in control of the[ir NIL] rights” could choose to limit or foreclose sublicensing
when they initially assign those rights. And adopting DraftKings’s reading of § 8316 would inevitably
mean invalidation of any contractual provision authorizing sublicensing of NIL rights, a result which
seems contrary to Pennsylvania precedent. See Degliomini v. ESM Prods., Inc., 253 A.3d 226, 238 (Pa.
2021) (“An otherwise valid contract will not be voided in favor of a vague public policy goal; rather this
Court requires that to support such a heavy-handed result, the alleged public policy must be . . .
ascertained by reference to the laws and legal precedents and not from general consideration of supposed
public interest. There must be found definite indications in the law of the sovereignty to justify the
invalidation of a contract as contrary to that policy. Only dominant public policy would justify such
action.” (emphases added)).


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law contemplate sublicensing, that legal question was not properly before the Court, and our

ruling cannot be read as definitively holding one way or the other on the issue. And because the

Court did not rule on that legal issue (even assuming DraftKings properly raised it) immediate

appeal is also inappropriate as to Issue 4. See Katz, 469 F.2d at 763 (“We cannot exercise

appellate jurisdiction over an issue not yet decided in the district court.”); Wright, Miller, et al.,

Federal Practice and Procedure, 16 Fed. Prac. & Proc. Juris. § 3930 (3d ed.) (“If there is a

district-court order and interlocutory appeal is allowed, the scope of the appeal does not extend

to issues not yet decided by the district court.”).

        For those reasons, certification is denied as to Issues 3 and 4.

                2.      Issues 1 and 2

        Issues 1 and 2 are a closer call. In Issue 1, DraftKings challenges the Court’s ruling on

the scope of the statutory and common law exceptions for “news report or news presentation

having public interest” (the “Public Interest Exceptions”). Previously, the Court rejected

DraftKings’s argument that the Public Interest Exceptions should be interpreted coextensive with

other states’ exceptions for “newsworthy” information. DraftKings argues that this issue should

be certified for immediate appeal because the scope of the Public Interest Exceptions is an issue

of first impression and if the Court’s ruling is reversed, it “would be dispositive of Counts I and

II.” (Doc. No. 60-1 at 12–13.)

        Even assuming that this issue involves a “controlling question of law,” on which there

may be “substantial ground for difference of opinion,” the Court does not agree that reversal on

appeal is likely to result in disposition of Counts I and II or otherwise “materially advance[ ] the

ultimate termination of the litigation.” Consumer Fin. Prot. Bureau, 522 F. Supp. 3d at 114

(“[A] § 1292(b) certification materially advances the ultimate termination of the litigation where

the interlocutory appeal eliminates: (1) the need for trial; (2) complex issues that would


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complicate the trial; or (3) issues that would make discovery more costly or burdensome.”); In re

Chocolate Confectionary Antitrust Litig., 607 F. Supp. 2d at 707 (“The court must evaluate

whether an appeal could eliminate the need for a trial, simplify a case by foreclosing complex

issues, or enable the parties to complete discovery more quickly or at less expense.”).

        As this Court explained in the March 14, 2025 Memorandum, the Complaint includes

numerous examples of how DraftKings has used player NILs across its platforms, and “it is

premature to hold as a matter of law that” all of those uses—many of which are included in the

Complaint as examples—are “news reports” such that they fall within the scope of the Public

Interest Exceptions. In other words, even if the Third Circuit adopted DraftKings’s

interpretation of the Public Interest Exceptions, it remains premature to rule on the factual

question of whether those uses are “newsworthy.” 6 (Hr’g Tr. at 21:4–7 (“The Court: You think

that’s a legal question, a question of law whether odds is news? Ms. Bannigan: That may be a

factual question, Your Honor.”).) And as such, reversal will not “lead to dismissal with

prejudice” as DraftKings contends. (Doc. No. 60-1 at 13.) Neither will it alter the cost or burden

of discovery that the parties will need to conduct, because either way, the parties will exchange

discovery about the ways in which DraftKings uses player NILs on its sportsbook platforms and


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           For this reason, the Court also questions whether DraftKings has satisfied the first element for
certification, i.e., that the issue certified involves a controlling question of law. Although resolution of
Counts I and II turns on the scope of the Public Interest Exceptions (a legal question), it also requires
application of those exceptions to the facts (a factual question), which are not adequately developed at
this stage of the litigation. See Fair Housing Rights Ctr., 2018 WL 4489653, at *3 (“On a legal level,
‘certification to appeal an interlocutory order is inappropriate when the underlying order involves mixed
questions of law and fact because Section 1292(b) was not designed to secure appellate review of factual
matters.’” (citation omitted and alterations adopted); Johnson v. PG Pub’g Co., 2:20-cv-885-NR, 2021
WL 4171420, at *2 (W.D. Pa. Sept. 14, 2021) (“A court’s order does not include a requisite controlling
question of law, however, when the dispute turns on the court’s application and interpretation of the
facts.”); see also In re JRV Grp. USA L.P., Case No. 19-11095 (KBO), 2022 WL 3646288, at *6 (D. Del.
Aug. 24, 2022) (“A proper interlocutory appeal ‘must concern a controlling question of law. A pure
question of law is something the court of appeals could decide quickly and cleanly without having to
study the record.’” (citation omitted)).


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social media accounts. 7 See Piazza v. Major League Baseball, 836 F. Supp. 269, 272 (E.D. Pa.

1993) (“[I]f the Court of Appeals were to rule that the antitrust exemption extended beyond the

reserve clause, but that a record would have to be developed before determining whether the

actions relating to ownership and relocation constitute the ‘business of baseball,’ then discovery

would still be necessary and perhaps trial, with another appeal arising from any ruling relating to

the ‘business of baseball.’ Again, neither time nor money would be saved.”); see also Fair

Housing Rights Ctr., 2018 WL 4489653, at *6 (“The importance of the factual circumstances

surrounding the issues in this case supports the necessity of developing a factual record at trial so

that any future appeal would be able to answer these FHAA questions armed with all of the

necessary information.”); cf. Consumer Fin. Prot. Bureau, 522 F. Supp. 3d at 117 (“[S]hould the

Third Circuit Court of Appeals reverse this Court’s application of the doctrine of equitable

tolling, this case would be subject to immediate dismissal. Navient is thus correct in asserting

that the need for any further proceedings, including trial, would be eliminated in such a

situation.”).

        Accordingly, although a close call, the Court rejects the notion that the potential for

“clarity as to the outer bounds of the ‘public interest’ exception” (Doc. No. 62 at 12) sufficiently

overcomes the concerns of confusion and delay caused by protracted, piecemeal litigation. See

Piazza, 836 F. Supp. at 272–73 (denying certification and noting that “avoiding piecemeal

appeals will permit the Court of Appeals to have the entire controversy presented to it at one

time, on a fully developed record from which it can make a final determination of the issues in



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          For this reason, the Court also questions whether the Third Circuit would accept the issue for
immediate appeal even if certified by this Court. See Katz, 496 F.2d at 754 (recognizing that the appellate
court may deny permission to appeal “based upon a different assessment than that of the district court as
to any of the three criteria,” as well as “for entirely unrelated reasons such as . . . the desire to have a full
record before considering the disputed legal issue”).


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the case”); Johnson, 2021 WL 4171420, at *3 (“Certifying the case for appeal only to have it

remanded by the Third Circuit for further factual development [would] not materially advance

this litigation” and defendant is “better served raising its arguments at the summary-judgment

stage, on a developed factual record.”); cf. Consumer Fin. Prot. Bureau, 522 F. Supp. 3d at 116

(“[B]ecause the purely legal question certified to the Third Circuit would either lead to dismissal

of the action in its entirety or would allow the entire case to go forward, certification of the

Court’s order would not run afoul of the strong policy established by federal law against

piecemeal appeals.”).

       For similar reasons, Issue 2 is also not appropriate for immediate appeal. Again, even

assuming that Issue 2 involves a “controlling question of law,” on which there may be

“substantial ground for difference of opinion,” DraftKings has not shown that immediate appeal

would materially advance the litigation. Issue 2 affects only the unjust enrichment claim (Count

IV), meaning that even if the Third Circuit ruled in DraftKings’s favor, reversed this Court’s

prior holding, and dismissed Count IV in its entirety, Counts I and II would remain and proceed

with discovery, dispositive motions, and (if necessary) trial. The scope of discovery is virtually

the same for all three counts (see Hr’g Tr. at 45:16–46:4 (Plaintiffs’ counsel listing overlapping

questions for discovery)), so dismissal of one would not substantially alter DraftKings’s

discovery burden or otherwise materially advance the litigation. See Piazza, 836 F. Supp. 269,

272–73 (denying certification where “several claims may proceed to trial regardless of the

disposition” of the claims sought to be certified, such that an appeal “would create the potential

for chaotic litigation”). Again, the Court does not find that early clarification on this issue

sufficiently outweighs the concerns of confusion and delay caused by piecemeal litigation.

       Accordingly, the Court declines to certify Issues 1 and 2 for immediate appeal.




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III.    CONCLUSION

        DraftKings’s motion is denied. An appropriate order follows.




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